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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF

Vs.                           CASE NO. 4:03cr00225-03 JMM

AMANDA KETELSEN                                                             DEFENDANT


                                         ORDER


        It has come to the Court’s attention that Defendant’s representation by the Federal

Public Defender’s Office presents a conflict. Therefore, Bruce Eddy is relieved from the

previous appointment. Les Ablondi, who previously represented Defendant, is hereby

appointed to represent Defendant in the probation revocation proceedings.

        The hearing on the motion to revoke probation is rescheduled from May 19, 2006,

to Friday, May 26, 2006 at 10:00 a.m. The Clerk is directed to reissue summons for the

new hearing date.

        IT IS SO ORDERED this 26th day of April, 2006.




                                            UNITED STATES DISTRICT JUDGE
